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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

   Ronda Mercer, as Personal Representative         Case No. 6:17-cv-00692-WWB-EJK
   of The Estate of Deborah Denise Clark
   a/k/a Deborah D. Clark, Deceased, , individually
   and on behalf of all others similarly situated,

          Plaintiff,
   v.

   FDS BANK and DEPARTMENT STORES
   NATIONAL BANK,

         Defendants.
                                          /

   FDS BANK and DEPARTMENT STORES
   NATIONAL BANK,

         Third-Party Plaintiffs,
   v.

   RONDA MERCER,

         Third-Party Defendant.
                                          /



                RENEWED JOINT MOTION FOR PRELIMINARY
                 APPROVAL OF CLASS ACTION SETTLEMENT
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          I.    INTRODUCTION AND SUMMARY OF THE LITIGATION,
                        MEDIATION AND SETTLEMENT

           The parties respectfully move the Court for preliminary approval of the nationwide class

  action settlement (“Settlement”) reached between Deborah Clark, and Defendants FDS Bank and

  Department Stores National Bank concerning Plaintiff’s claims arising under the Telephone

  Consumer Protection Act (“TCPA”), 47 U.S.C. § 227., which is attached as Appendix 1.

           As this Court is aware, Ms. Clark passed away on June 23, 2020 and Ronda Mercer, as

  Personal Representative of The Estate of Deborah Denise Clark a/k/a Deborah D. Clark,

  Deceased has been substituted1.

           Pursuant to the Court’s January 26, 2021 Order, this amended motion for preliminary

  approval is being filed with the proper substituted plaintiff.

           Defendants dispute legal and factual entitlement to recovery or class certification, but

  join in the request for certification of a settlement class and the relief sought herein.

           Plaintiff submits for the reasons set forth below and set forth in the September 2, 2020

  Report and Recommendation (ECF 268), preliminary approval should be granted. Plaintiff

  would note that the notice should be revised to reflect the change in Eleventh Circuit law that

  prohibits incentive awards. See Johnson v. NPAS Solutions, LLC, No. 18-12344 (11th Cir. Sept.

  17, 2020). In short, Plaintiff will only request an incentive award at final approval if the

  Eleventh Circuit grants the motion for en banc review of Johnson.


  1
    TCPA claims are remedial, survive a plaintiff's death under federal law and the personal representative may
  substitute as the class representative. See Parchman v. SLM Corp., 896 F.3d 728, 738-41 (6th Cir. 2018)(Holding
  TCPA claim is remedial, survives the plaintiff’s passing and the representative may serve as the class plaintiff); see
  also Hooters of Augusta, Inc. v. Am. Glob. Ins. Co., 272 F. Supp. 2d 1365, 1375 (S.D. Ga. 2003) aff'd, 157 F. App'x
  201 (11th Cir. 2005) (holding that Section 227(b)(3) is remedial because one of its purposes is to "redress harms to
  individuals who are forced to absorb the costs associated with receiving unsolicited faxes" and, additionally, "any
  award of actual or statutory damages issues to the harmed individual or entity, not to a third party"); see also Alea
  London Ltd. v. Am. Home Servs., Inc., 638 F.3d 768, 779 (11th Cir. 2011) (holding that the TCPA's treble damages
  provision is remedial); Penzer v. Transp. Ins. Co., 545 F.3d 1303, 1311 (11th Cir. 2008) (holding that the TCPA's
  $500 statutory damages provision is remedial).

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         Summary of Claims

         Plaintiff has asserted that the “[v]oluminous consumer complaints about abuses of

  telephone technology . . . prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs.,

  LLC, 565 U.S. 368, 370-71 (2012). Plaintiff argues that Congress found that “automated or

  prerecorded calls are a nuisance and an invasion of privacy, regardless of the type of call,” and

  decided that “banning” such calls made without consent was “the only effective means of

  protecting consumers from this nuisance and privacy invasion.” Telephone Consumer Protection

  Act of 1991, Pub. L. No. 102-243, 105 Stat. 2394, 2394-95 (codified at 47 U.S.C. § 227).

         The TCPA generally makes it unlawful to make any call using an ATDS or an artificial

  or prerecorded voice to any telephone number assigned to cellular telephone service unless the

  call is made “for emergency purposes” or with the “prior express consent of the called party.” 47

  U.S.C. § 227(b)(1)(A)(iii).

          The TCPA creates a private right of action for persons affected by violations and

  provides for statutory damages in the amount of $500 per violation, which the Court may treble

  if a violation is willful. 47 U.S.C. §227(b)(3).

         Pursuant to the TCPA, Ms. Clark alleged she received automated robocalls from

  Defendants to collect monies allegedly in connection to a Macy’s or Bloomingdales credit card

  account even though Plaintiff was not the person that Defendants were trying to reach. Ms. Clark

  contended these calls violated the TCPA because they were made to third parties that were

  designated as wrong numbers or made after a request to stop calling such that there would not be

  consent for these calls. Defendants have vigorously denied these allegations and the related

  claims for relief. The proposed Settlement would resolve all claims in this action.2


  2
   Capitalized terms in this motion are meant to have the same meaning as in the Settlement
  Agreement, unless otherwise noted.
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          II.    OVERVIEW OF THE SETTLEMENT & SUMMARY OF LITIGATION

                A. Procedural Background

          On September 9, 2016, Ms. Clark filed this matter as a single-plaintiff suit pursuant to the

  Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”), Case No. 6:16-cv-

  01582-CEM-DAB (“Clark I Action”). Ms. Clark filed an Amended Class Action Complaint on

  November 18, 2016. (Clark I Action, Dkt 17.) Ms. Clark moved to voluntarily dismiss the Clark

  I Action on March 27, 2017, as granted by this Court on March 28, 2017. (Clark I Action, Doc.

  Nos. 30 and 31.)

          Class Representative refiled her Class Action Complaint as the instant matter on April 17,

  2017, similarly alleging claims for violation of the TCPA, Case No. 6:17-cv-00692-WWB-EJK

  (“the Action.”). Ms. Clark filed a Motion for Class Certification on July 17, 2017.

          After briefing a contested Motion to Amend, Ms. Clark filed an Amended Complaint on

  March 13, 2018. On December 7, 2018, Defendant filed a motion to dismiss for lack of

  prosecution because Ms. Clark suffered serious medical conditions that required her to

  reschedule her deposition. The Court held a hearing on this motion on January 18, 2019. (Dkt

  142) At the request of Defendant and at the Court’s Order, Ms. Clark underwent a medical

  examination to determine if she was capable of prosecuting the case as Class Representative.

  (Dkt 151) Defendants’ medical examiner determined Ms. Clark was capable of continuing with

  the prosecution of her case. After lengthy and contentious discovery, Defendants filed a Motion

  for Partial Summary Judgment, and Ms. Clark filed her Motion for Class Certification under seal

  on December 4, 2019.

                B. Discovery

          Discovery in this case has been thorough and contentious, requiring the court’s

  intervention on numerous occasions after full briefing by both parties and numerous discovery
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  hearings. Numerous motions for protective order, motions to show cause, motions to strike, and

  motions to compel were filed, and both parties hired experts to assist in the discovery process.

          In addition to the contentious discovery with Defendant, Ms. Clark required the court’s

  assistance with resolving disputes with third parties from whom Ms. Clark had sought

  information. (Dkts 244-245).

          C.     The Parties Mediation

          On December 2, 2019, the parties engaged in a daylong mediation with Rodney Max who

  is an accomplished and well-regarded mediator. While the parties did not reach an agreement at

  the mediation, the Parties continued to work with Mr. Max until a settlement in principle was

  reached in February 2020. Significant negotiations regarding the specifics and timing of the

  settlement terms, identification of the class, notice, the settlement agreement, and release

  continued until this filing of this Motion.

        D.       The Settlement
          Under the Agreement, Defendants will pay One Million, Five Hundred Thousand Dollars

  ($1,500,000.00) into a non-reversionary Settlement Fund. The Settlement Fund will be divided

  among all Settlement Class Members who submit a timely approved claim, after payment of the

  costs of notice and administration and the court-approved attorneys’ fee and class representative

  incentive awards. None of the Settlement Fund will revert back to Defendants.

          All told, this settlement provides the Settlement Class with a significant portion of the

  statutory damages available under TCPA and, on a per-class member basis, it exceeds several

  other TCPA class action settlements approved in this District. Given the hurdles facing the

  Settlement Class in this litigation, the results achieved are reasonable in light of the defenses.

  Both counsel agree that the settlement is fair and reasonable considering the facts and the

  applicable law.

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         The parties therefore move to: (a) conditionally certify the Settlement Class; (b) appoint

  Ronda Mercer, as Personal Representative of The Estate of Deborah Denise Clark a/k/a Deborah

  D. Clark, Deceased as class representative; (c) appoint Keith Keogh of Keogh Law, Ltd. and

  William Howard as class counsel, (d) enter an order granting preliminary approval of the

  Settlement and plan for giving notice of it to the Settlement Class, and setting this matter for a

  fairness hearing; and (e) grant such additional relief as deemed just. Defendant does not oppose

  these requests.

                      III.    SUMMARY OF THE PROPOSED SETTLEMENT

         The key terms of the proposed Settlement follow:

         A.         Class Definition. The Settlement Class3 is defined as follows:

         All persons in the United States whose cellular telephone number, at any time on
         or after July 22, 2015, through January 31, 2020, Defendants (or either of their
         agents or affiliates) placed a call for debt collection purposes (estimated to be
         247,000 persons) in connection with a Macy’s and/or Bloomindale’s credit card
         account using an artificial or prerecorded voice and/or using substantially the
         same systems that were used to call Plaintiff’s cellular telephone number, where
         the phone number called belonged to the owner or customary user of that
         cellphone who did not provide the number to Defendants and/or is not a person
         who had consented to receiving calls at that cellular telephone number.

         B.         Structure of the Settlement Amount. The Agreement provides Defendants will

  pay One Million, Five Hundred Thousand Dollars ($1,500,000.00) into a non-reversionary

  Settlement Fund. Appendix 1 at ¶1.36.

         C.         Individual Settlement Class Member Benefits. A Settlement Class Member

  who submits a timely claim form will receive $50 if they provide proof of the call (which

  includes documentary proof or a simple declaration stating they never provided consent for the


  3
    The following are excluded from the Settlement Class: (i) any Judge or Magistrate presiding
  over the Action and members of their staffs or immediate family members, (ii) Defendants and
  their officers and directors; and (iii) all Settlement Class Members who timely and validly
  request exclusion from the Settlement Class.
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  call at issue), or $7 if no proof is attached. The settlement also provides a pro rata share of the

  net settlement if the amount of the funds available to the class either exceeds or is less than the

  amount if each class member receives their respective $50 or $7. Plaintiff estimates4 the pro rata

  share for each class member who submits a valid claim would equal $62 at a five percent claim

  rate and $31 at a ten percent claim rate.

         D.      Compensation for the Class Representative. Subject to Court approval, Plaintiff

  shall apply for an incentive award not to exceed twenty thousand dollars ($20,000).5 As noted

  above, any incentive award will be contingent upon the Eleventh Circuit allowing incentive

  awards by vacating or overruling Johnson. The Agreement does not contain any “clear sailing”

  provision as to incentive award demonstrating that the amount now sought was not a factor in

  agreeing to this Agreement. As will be explained in the final approval motion, Mrs. Clark

  substantively participated in this case including communicating with counsel, participating in

  discovery, underwent a medical examination and was deposed. See Appendix 2, Declaration of

  Deborah Clark. In fact, Mrs. Clark continued to participate in the prosecution of this case despite

  serious medical difficulties. Id. Thus her estate should be entitled to an incentive award if the

  Eleventh Circuit allows it.

         E.      Payment of Attorneys’ Fees and Expenses. Plaintiff’s counsel will petition the

  Court for an award of attorneys’ fees of one-third of the Maximum Settlement Amount, plus


  4
    The estimate is based on administration costs at $200,000, requested attorney fees of one third
  ($500,000) and expenses of $30,000 and the requested incentive award of $20,000, which would
  leave a Settlement Fund balance of $750,000, assuming the incentive award stands, to be
  distributed to the claimants.
  5
    This is consistent with incentive awards in other cases. See, e.g., Cooper v. NelNet, Inc., 14-cv-
  314-RBD-DAB, Dkt. 85, p.5, ¶11 (M.D. Fla. Aug. 4, 2015) ($25,000 incentive award in TCPA
  case); Gevaerts v. TD Bank, N.A., No. 14-cv-20744-RLR, 2015 U.S. Dist. LEXIS 150354, *25-
  *26 (S.D. Fla. Nov. 5, 2015) ($10,000 incentive awards), citing Spicer v. Chi. Bd. of Options
  Exchange, Inc., 844 F.Supp. 1226, 1267-68 (N.D. Ill. 1993) (collecting cases approving
  incentive awards ranging from $5,000 to $100,000, and approving $10,000 for each plaintiff).
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  expenses, and the notice to the Settlement Class will inform the Settlement Class of such and

  counsel’s soon to be filed fee petition will be posted on the settlement website.

          F.     Release. In exchange for the relief described above, the release is applicable to all

  Settlement Class Members and releases any and all rights, duties, obligations, claims, actions,

  causes of action or liabilities, whether arising under local, state or federal law, whether by

  Constitution, statute, contract, rule, regulation, any regulatory promulgation (including, but not

  limited to, any opinion or declaratory ruling), common law or equity, whether known or

  unknown (including “Unknown Claims”), suspected or unsuspected, asserted or unasserted,

  foreseen or unforeseen, actual or contingent, liquidated or unliquidated, punitive or

  compensatory, that have been, could have been, or in the future might be asserted that arise out

  of, relate to, or are otherwise in connection with the actual or alleged use by Released Parties

  and/or their agents and/or affiliates, of an artificial or prerecorded voice and/or of any automatic

  telephone dialing system (to the fullest extent that those terms are used, defined or interpreted by

  the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq., relevant regulatory or

  administrative promulgations and case law) to make collection calls to collect on Macy’s-

  branded and/or Bloomingdale’s-branded credit card accounts, including, but not limited to,

  claims under or for violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et

  seq., and any other state or federal statutory or common law claim arising from the use of

  automatic telephone dialing systems and/or an artificial or prerecorded voice which have accrued

  at any point from the beginning of time through the date of Preliminary Approval of the

  Agreement. See Appendix 1 at §1.28.

          IV.    THE PROPOSED SETTLEMENT CLASS SHOULD BE CERTIFIED

          Plaintiff asserts that prior to granting preliminary approval of a class action settlement,

  the Court should confirm that the proposed settlement class is a proper class for settlement
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  purposes. See Manual for Complex Litigation (Fourth) § 21.632; Amchem Prods. Inc. v.

  Windsor, 521 U.S. 591, 620 (1997). “A class may be certified solely for the purposes of

  settlement where a settlement is reached before a litigated determination of the class certification

  issue.” Lipuma v. Am. Express Co., 406 F. Supp. 2d 1298, 1313-14 (S.D. Fla. 2005) (internal

  quotations omitted).

          Certification of a settlement class is appropriate where the Court finds that the proposed

  settlement class meets the elements of Federal Rule 23(a), and one element of Federal Rule

  23(b). See Collins v. Erin Capital Mgmt., LLC, 290 F.R.D. 689, 693 (S.D. Fla. 2013). The

  elements of Rule 23(a) are numerosity, commonality, typicality, and adequacy of representation.

  Fed. R. Civ. P. 23(a)(1)-(4); see also Collins, 290 F.R.D. at 693. The element of Rule 23(b) at

  issue here requires that common questions of law or fact predominate, and that a class action be a

  superior method of resolving the claims at issue. Fed. R. Civ. P. 23(b)(3); see also Collins, 290

  F.R.D. at 693. However, because class certification is being proposed as part of a settlement, the

  Rule 23(b)(3) inquiry is relaxed as it relates to case manageability because the settlement

  obviates the need for a trial. See Amchem, 521 U.S. at 620.

          Numerous trial and appellate courts have examined issue under the TCPA and have

  recognized that the TCPA can, under the right circumstances, be suitable for class certification.

  See Sandusky Wellness Ctr., LLC v. Medtox Sci., Inc., 821 F.3d 992, 998 (8th Cir. 2016) (“‘Class

  certification is normal in litigation under [the TCPA], because the main questions …. are

  common to all recipients.’”) (quoting Ira Holtzman, C.P.A., & Assosc. Ltd. v. Turza, 728 F.3d

  682, 684 (7th Cir. 2013)); Krakauer v. Dish Network, LLC, 925 F.3d 643, 656 (4th Cir. 2019);

  see also, e.g., Meyer v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036, 1041-42 (9th Cir. 2012)

  (affirming certification of TCPA class); see also Bridging Cmtys. Inc. v. Top Flite Fin. Inc., 843

  F.3d 1119, 1127 (6th Cir. 2016) (reversing the denial of class certification in a TCPA case).
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          As observed by the Fourth Circuit:

          Given the remedial purpose of the TCPA, it is no surprise that its cause of action
          would be conducive to class-wide disposition. In enacting the law, Congress
          sought to deter an activity that, while pernicious and disruptive, does not trigger
          extensive liability in any single case. Since few individuals would have an
          incentive to bring suit, no matter how frustrated they were with the intrusion on
          their privacy, the TCPA opted for a model that allows for resolution of issues
          without extensive individual complications.


  Krakauer, 925 F.3d at 656.

          Recently, the Eleventh Circuit recognized TCPA actions can be appropriately certified.

  Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1275 (11th Cir. 2019).6 See also Grant v. Regal

  Auto. Grp., Inc., 2020 U.S. Dist. LEXIS 91897 (M.D. Fla. May 27, 2020); Northrup v.

  Innovative Health Ins. Ptnrs., LLC, 329 F.R.D. 443, 447 (M.D. Fla. 2019); Kron v. Grand

  Bahama Cruise Line, LLC, 328 F.R.D. 694, 702-03 (S.D. Fla. 2018); Keim v. ADF MidAtlantic,

  LLC, 328 F.R.D. 668, 674 (S.D. Fla. 2018).

          Courts have also certificated classes in “wrong number” TCPA cases. Reyes v. BCA Fin.

  Servs., 2018 U.S. Dist. LEXIS 106449 (S.D. Fla. June 26, 2018)(certified a wrong number

  TCPA class in the face of defendant’s objection that the “wrong number” notations in its records

  did not necessarily mean what they said); Johnson v. Navient Sols., Inc., 315 F.R.D. 501 (S.D.

  Ind. 2016)( certified a wrong number class and rejected the argument “that every record marked

  as a wrong number may not actually have been a wrong number,” finding that “these matters can

  be efficiently addressed” and “that, at this point in the litigation, while it is not required prior to

  certification, the Plaintiff’s proposed method of identifying potential class members is adequate


  6 Because the district court did not consider how to resolve which class members actually had a
  right to bring their claims, the Eleventh Circuit reversed class certification and remanded. See id.
  at 1276. By contrast, here the parties have agreed on a methodology for providing an
  overinclusive notice, which will notify as many class members as is practicable, with
  supplemental publication notice if appropriate.
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  for class certification.”); Lavigne v. First Cmty. Bancshares, Inc., 2018 U.S. Dist. LEXIS 94055,

  at *18-19 (D.N.M. June 5, 2018) (certifying wrong number class despite defendants’ argument

  “that a call could be coded ‘Bad/Wrong Number’ for many reasons” because “a number of courts

  have rejected this theory in ‘Wrong Number’ cases, under similar factual circumstances, at the

  class certification stage”); West v. Cal. Servs. Bureau, Inc., 323 F.R.D. 295, 301-02 (N.D. Cal.

  2017) (certifying wrong number class, reasoning “several district courts have deemed

  commonality and predominance satisfied in TCPA cases despite the possibility that a substantial

  proportion of the phone numbers marked as ‘wrong number’ in defendant’s call log databases

  ‘may not have actually been a wrong number’”); Abdeljalil v. GE Capital Corp., 306 F.R.D. 303,

  308, 311 (S.D. Cal. 2015) (certifying wrong number class based on defendant’s records, holding

  ascertainability satisfied “because class members likely can be determined by objective criteria

  based on defendant’s business records and the class members will likely be able to identify

  whether they received prerecorded calls from defendant,” further holding predominance satisfied

  as class definition was limited to wrong numbers, which plaintiff correctly argued is “evidence

  suggesting defendant did not obtain express consent”); see also Reid v. I.C. Sys., 2017 U.S. Dist.

  LEXIS 43770, *4-5 (D. Ariz. 2017) (certifying settlement class of persons “whose cellular

  telephone number was . . . coded as a wrong number” in defendant’s records); Couser v.

  Comenity Bank, 125 F. Supp. 3d 1034, 1039 (S.D. Cal. 2015) (certifying settlement class defined

  in terms of persons called “without consent” and “persons whose cellular telephone numbers

  were marked with a ‘wrong number’ code in Defendant’s database”).

          Defendants have pointed out that courts have also denied class certification in TCPA

  wrong number cases. See, i.e., Morgan v Adventist Health System et al., 6:18-cv-01342-WWB-

  DCI (M.D. Fl. 2020). However, the parties believe that the settlement here avoids the problems



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  presented in these cases, and constitutes a fair, adequate, and reasonable resolution of this matter.

  See Amchem, 521 U.S. at 620.

             A. The Numerosity Element Is Satisfied for Settlement Purposes

          The first Rule 23(a) element requires that “the class is so numerous that joinder of all

  members is impracticable.” Fed. R. Civ. P. 23(a)(1); see also Collins, 290 F.R.D. at 694. To meet

  this element, “plaintiffs need not prove the exact size of the proposed class, but rather need

  demonstrate only that the number is exceedingly large, and joinder impracticable.” Id. (citations

  omitted). “As a general rule, a group of more than forty satisfies the numerosity requirement.”

  Id.

          Here, the parties have agreed for settlement purposes that the settlement class would

  satisfy the numerosity requirement. Plaintiff’s expert estimated that there are roughly 247,000

  persons who received an unauthorized call from Defendant as defined in the settlement

  agreement. See Appendix 1 at §1.33. Obviously, it would be impracticable to join hundreds of

  thousands of people as parties in one lawsuit.

             B. The Commonality Element Is Satisfied for Settlement Purposes

          The parties agree that for settlement purposes there are “questions of law or fact common

  to the class.” Fed. R. Civ. P. 23(a)(2). See Fabricant v. Sears Roebuck & Co., 202 F.R.D. 310,

  313 (S.D. Fla. 2001); see also Agan v. Kathzamn & Korr, P.A., 222 F.R.D. 692, 697 (S.D. Fla.

  2004) (finding that the commonality requirement is “generally satisfied when a plaintiff alleges

  that defendants have engaged in a standardized course of conduct that affects all class members”)

  (internal quotation omitted).

          All Settlement Class Members share the common issue of whether the system used to call

  them is an automatic telephone dialing system (“ATDS”) under the TCPA. While the parties

  disagree on the answer to this question, the parties agree that this is a common question for
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  settlement purposes. See Palm Beach Golf, 311 F.R.D. at 699 (“facts necessary to establish

  liability relate to Defendant’s common course of conduct”); C-Mart, Inc. v. Metro. Life Ins. Co.,

  299 F.R.D. 679, 690 (S.D. Fla. 2014) (holding in TCPA case “the legal questions that the instant

  matter presents will be common to all class members”); Manno v. Healthcare Revenue Recovery

  Grp., LLC, 289 F.R.D. 674, 686 (S.D. Fla. 2013) (“Whether the provision of a phone number on

  admissions paperwork equates to express consent is a question common to all class members,

  because . . . all class members will prevail or lose together, making this another common issue to

  the class.”).

             C. The Typicality Element is Satisfied for Settlement Purposes

          The third Rule 23(a) element requires that the class representative’s claims be typical of

  the claims of the putative class members. Fed. R. Civ. P. 23(a)(3). “The Supreme Court has

  recognized ‘[t]he commonality and typicality requirements of Rule 23(a) tend to merge.’”

  Collins, 290 F.R.D. at 697 (citation omitted). “[T]ypicality measures whether a sufficient nexus

  exists between the claims of the named representative and those of the class at large.” Hines v.

  Widnall, 334 F.3d 1253, 1256 (11th Cir. 2003) (internal quotation omitted).

          In this case, the parties agree for settlement purposes that Plaintiff was subjected to the

  same pattern or practice as every other class member—i.e. Defendants placed debt collection

  robocalls regarding a Macy’s and/or Bloomingdales account to cellular telephone numbers where

  the owner or customary user of that cellphone who did not provide the number to Defendants

  and/or is not a person who had consented to receiving calls at that cellular telephone number.

             D. Plaintiff and Her Counsel Are Adequate Representatives for Settlement
                Purposes

          The fourth and final Rule 23(a) element requires the class representative to “fairly and

  adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This factor mandates: (1)

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  that the class representative possess no interests antagonistic to the settlement class, and (2)

  competent class counsel. See Fabricant, 202 F.R.D. at 314-15 (citing Kirkpatrick v. J.C.

  Bradford & Co., 827 F.2d 718, 726-28 (11th Cir. 1987)).

          Here, the parties agree for settlement purposes that Plaintiff’s and the Settlement Class

  Members’ interests are aligned because they both stand to recover statutory damages if Plaintiff

  proves Defendants violated the TCPA. See Appendix 2, Declaration of Deborah Clark at ¶¶ 6,

  15. Ms. Mercer has now stepped forward to stand in Ms. Clark’s shoes and has attested that she

  will look out for the interests of the class, her interests are aliagned with the class and is

  adequate. See Appendix 5, Declaration of Ms. Mercer.

          Moreover, Plaintiff is represented by counsel with extensive experience litigating TCPA

  claims and class actions under the TCPA. See Appendix 3 Declaration of Keith Keogh at ¶¶ 7-9,

  21-24; Appendix 4 Declaration of William Howard at ¶¶3, 11-13. Thus, the adequacy element is

  met for the purposes of settlement, and Plaintiff and her counsel should be appointed as Class

  Representative and Class Counsel for settlement purposes pursuant to Fed. R. Civ. P.

  23(g)(1)(A)(i)-(iv).

             E. The Proposed Settlement Class Meets the Requirements of Rule 23(b)(3), for
                Settlement Purposes

          Once the four elements of subsection (a) are met, Rule 23 also requires that the case meet

  one of the three elements of subsection (b). Rule 23(b)(3) provides that a class action can be

  maintained if the questions of law or fact common to class members predominate over any

  questions affecting only individuals, and if a class action is a superior method for the fair and

  efficient adjudication of the controversy. Fed. R. Civ. P 23(b)(3). .

          Here, the common question presented affects the class members’ ability to establish

  liability and obtain relief in that proving whether Defendants had consent establishes liability for

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  the class.   For settlement purposes, common issues will predominate. Abdeljali, supra (in

  certifying a wrong number TCPA class, any speculative or hypothetical individualized issues

  regarding “prior express consent” do not defeat predominance where the class can be identified

  by defendant’s records). 306 F.R.D. at 311; see also Johnson, 315 F.R.D. at 502-03 (holding

  predominance satisfied by wrong number TCPA class, finding that any possible individual issues

  “can be efficiently addressed”).

          A class action settlement would be superior to any other method available to fairly and

  efficiently adjudicate the Settlement Class Members’ claims. See Bush v. Calloway Consol.

  Group River City, Inc., 2012 U.S. Dist. LEXIS 40450, *33 (M.D. Fla. Mar. 26, 2012) (“Courts

  routinely find class resolution superior in consumer protection actions…”). Without a class

  action settlement, it is likely that members of the putative Settlement Class could not feasibly

  recover damages. A Settlement Class is a superior method of resolving those claims, particularly

  where the settlement claims administrator will individually review all claims to determine

  eligibility for recovery. See Amchem, 521 U.S. at 615.

          Although this case meets the superiority requirement as it is ordinarily applied, it must be

  noted that the superiority analysis is relaxed here because class certification is being proposed as

  part of a settlement, and thus trial management considerations are not a factor. See Amchem, 521

  U.S. at 620 (“Confronted with a request for settlement-only class certification, a district court

  need not inquire whether the case, if tried, would present intractable management problems, for

  the proposal is that there be no trial”) (citations omitted).

     V.     THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY APPROVAL

          Federal Rule 23 provides “[t]he claims, issues, or defenses of a certified class may be

  settled, voluntarily dismissed, or compromised only with the court's approval.” Fed. R. Civ. P.

  23(e). The procedure for review of a proposed class action settlement is a well-established two-
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  step process. Newberg & Conte, 4 Newberg on Class Actions, §11.25, at 38-39 (4th Ed. 2002);

  see also Carlos F. Herr, Annotated Manual for Complex Litigation, § 21.632 (4th ed. 2004).

          The first step is a preliminary, pre-notification determination whether the settlement is

  “within the range of possible approval.” Newberg, §11.25, at 38-39 (quoting Manual for

  Complex Litigation, §30.41 (3rd Ed.)); Fresco v. Auto Data Direct, Inc., No. 03-61063-CIV,

  2007 WL 2330895 at *4 (S.D. Fla. May 14, 2007). This is not a fairness determination; its

  purpose, rather, is to ascertain whether there are grounds to notify the class members of the

  settlement and to proceed with a fairness hearing. Newberg, §11.25, at 38-39; Fresco, 2007 WL

  2330895 at *4 (“A proposed settlement should be preliminarily approved if it is within the range

  of possible approval or, in other words, if there is probable cause to notify the class of the

  proposed settlement.”) (internal quotations omitted).

          The preliminary approval stage is an “initial evaluation” of the fairness of the proposed

  settlement made by the court on the basis of written submissions and informal presentation from

  the settling Parties. See Manual for Complex Litigation, § 21.632 (4th ed. 2004). If the court

  finds a settlement proposal “within the range of possible approval,” it then proceeds to the

  second step in the review process—the final approval hearing. Newberg, §11.25, at 38-39.

          There is a strong judicial and public policy favoring the voluntary conciliation and

  settlement of complex class action litigation. In re U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th

  Cir. 1992) (“Public policy strongly favors the pretrial settlement of class action lawsuits”);

  Warren v. City of Tampa, 693 F. Supp. 1051, 154 (M.D. Fla. 1998), aff’d, 893 F. 2d 347 (11th

  Cir. 1998); Access Now, Inc. v. Claires Stores, Inc., No. 00-14017-CIV, 2002 WL 1162422 at *4

  (S.D. Fla. May 7, 2002). With a settlement, the class members are ensured a benefit as opposed

  to the “mere possibility of recovery at some indefinite time in the future.” In re Domestic Air

  Transport., 148 F.R.D. 297, 306 (N.D. Ga. 1993).
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          Although the approval of a class action settlement is a matter for the Court’s discretion,

  proper consideration should be given to the consensual decision of the Parties. See Greco v. Ginn

  Dev. Co., LLC, 2015 U.S. App. LEXIS 20867 at *9 (11th Cir. Dec. 2, 2015) (unpublished) (“a

  district court may also rely upon the judgment of experienced counsel for the parties. Indeed,

  absent fraud, collusion, or the like, the district court ‘should be hesitant to substitute its own

  judgment for that of counsel.’”), quoting Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977);

  see also Warren, 693 F.Supp. at 1054 (“The Court is affording great weight to the

  recommendations of counsel for the parties, given their considerable experience in this type of

  litigation”).

          Ultimately, a class action settlement should be approved if it is fair, adequate, and

  reasonable, and not the product of collusion. Bennett v. Behring, 737 F.2d 982, 986 (11th Cir.

  1984); Access Now, 2002 WL 1162422 at *4. When conducting this analysis, the Court “should

  always review the proposed settlement in light of the strong judicial policy that favors

  settlements.” In re Sunbeam Sec. Litig., 176 F. Supp. 2d 1323, 1329 (S.D. Fla. 2001).

          In considering whether the proposed Settlement is “fair, adequate, and reasonable,” the

  following factors are often considered: (1) the likelihood of success at trial; (2) the range of

  possible recovery; (3) the point on or below the range of possible recovery at which settlement is

  fair, adequate and reasonable; (4) the complexity, expense and duration of litigation; (5) the

  substance and amount of opposition to the settlement; and (6) the stage of proceedings at which

  the settlement was achieved. Bennett, 737 F.2d at 986; see also In re Sunbeam, 176 F. Supp. 2d

  at 1329. Finally, in considering the preliminary approval issue, courts need not “reach any

  ultimate conclusions on the issues of fact and law which underlie the merits of the dispute.”

  Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977).



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         Here, the proposed Settlement is fair, adequate and reasonable, and well “within the

  range of possible approval.” This is demonstrated by the amount of monetary relief made

  available to the Settlement Class, and the fact that the agreement was the result of hard fought,

  arms’ length negotiations by experienced counsel conducted through a seasoned third-party

  mediator.

         The monetary relief secured on behalf of the Settlement Class is substantial in light of the

  fact that it came after this Court denied certification in a substantially similar TCPA class action

  in Morgan v Adventist Health System et al., 6:18-cv-01342-WWB-DCI (M.D. Fl. 2020).

  Although Plaintiff does not concede Morgan is applicable, if the Court would have applied

  Morgan to this case, it is likely the Court would have denied certification and the class would

  receive nothing.

         Each Settlement Class Member who submits a timely claim form will receive $50 or $7,

  but as pointed out above Plaintiff estimates each class member will take a pro rata share7 equal to

  equal $62 at a five percent claim rate and $31 at a ten percent claim rate.

         This compares favorably to a potential statutory damages recovery of $500 per call

  allowed by TCPA (and up to treble if willful), assuming all liability and damages claims could

  be pleaded and proven, which Defendant vigorously contested throughout this litigation.

  Finally, the monetary relief is also reasonable as compared to other TCPA class settlements

  approved in this district and elsewhere. See Wojcik v. Buffalo Bills, Inc., Case No. 8:12-cv-2414-

  T-23TBM (M.D. Fla. Aug. 25, 2014) (class claimants to receive $57.50-$75.00 gift card); In re

  7
   Sections 1.5 and 1.6 of the Agreement provide if the total amount of Approved Claims is less
  than the amount of the Settlement Fund (after deducting all Settlement Costs per ¶ 2.1), the
  Settlement Administrator shall make a pro rata increase to the amount of each Approved Claim,
  not to exceed $1,500,000 and if the total amount of Approved Claims submitted under ¶¶ 2.2-2.4
  exceeds the amount of the Settlement Fund (after deducting all Settlement Costs per ¶ 2.1), then
  each Approved Claim shall be reduced on a pro rata basis such that the total aggregate amount of
  Approved Claims plus the Settlement Costs does not exceed $1,500,000.00.
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  Enhanced Recovery Company, LLC Telephone Consumer Protection Act Litigation, Case No.

  6:13-MD-2398-orl-37GJK (M.D. Fla.) (class claimants to receive injunctive relief and no

  monetary recovery).8

           The Settlement is the product of substantial and active arms’ length negotiations that took

  place over years. Based on the discovery undertaken, including Plaintiff’s expert report,

  Plaintiff’s counsel is confident in the strength of the claims alleged in this action and Plaintiff’s

  chance of success at the class certification stage and at trial. However, Defendants are equally

  confident that a class would not be certified absent a settlement and that they have a strong

  position on the merits. Litigation is inherently unpredictable, Defendants are represented by

  competent and formidable counsel, and Plaintiff must clear a number of major hurdles to secure

  relief for the class in the absence of settlement (including contested class certification

  proceedings and trial), and the outcomes of those proceedings are never guaranteed.9

           Indeed, Plaintiff and the Settlement Class Members face significant risks. This includes

  the possibility that the Court may deny a contested class certification motion as discussed above

  and, of course, the possibility that the Court grants Defendants’ motion for partial summary

  judgment.




  8
    See, e.g., Kramer v. Autobytel, No. 10-cv-02722, 2012 U.S. Dist. LEXIS 185800 (N.D. Cal.
  Jan. 27, 2012) (approving $12.2 million settlement to benefit 47 million class members); Malta
  v. Fed. Home Loan Mortg. Corp., No. 10-cv-1290, 2013 U.S. Dist. LEXIS 15731 (S.D. Cal. Feb.
  5, 2013) (preliminarily approving $17.1 million settlement to 5,887,508 class members; final
  approval granted at Dkt. No. 91); Adams v. AllianceOne Receivables Mgmt. Inc., No. 08-cv-
  00248, Dkt. Nos. 116 & 137 (S.D. Cal. Sept. 28, 2012) (approving $9 million settlement to
  benefit 6,696,743 class members); Palmer v. Sprint Nextel Corp., No. 09-cv-01211, Dkt. Nos. 84
  & 91 (W.D. Wash. Oct. 21, 2011) (approving $5.5 million settlement to benefit 18.1 million
  class members).
  9
      See Appendix 3 (Decl. of Keith J. Keogh) at ¶15-18.

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         In the end, when the strengths of the case are weighed against the legal and factual

  obstacles present, and the complexity of class action practice, there should be no doubt that the

  proposed Settlement is in the best interest of Settlement Class Members. 10 And, given the value

  of this Settlement – Plaintiff expects no significant opposition to it by any Settlement Class

  Member. In its totality, this Settlement is well within the range of reasonableness and should be

  preliminarily approved by this Court.

             VI.    THE PROPOSED CLASS NOTICE SHOULD BE APPROVED

         The Agreement includes notice procedures designed to directly reach each settlement

  class member as is practicable and commercially reasonable. Appendix 1 at ¶3. Because the

  names and addresses associated with the unique cellular telephone numbers identified are not

  known, the Settlement Agreement provides the Class Administrator will perform a reverse

  lookup from the phone number after the Parties identify the phone numbers for putative class

  members.

         After the contact information is obtained, the Claims Administrator shall cause a notice

  (Appendix 1 at Exhibit B) to be sent via First Class mail to every Settlement Class Member for

  which address information is available, to advise them about the Settlement and direct them to

  the Website where they can obtain additional information about it, including how to comment on

  the settlement or opt out of it, and how to make a claim. Appendix 1 at ¶3.1.4. The Settlement

  Agreement allows Settlement Class Members to make claims via mail or on-line. Id. at ¶2.3.

         Second, the Claims Administrator will establish a settlement website that supplements the

  mail notice with comprehensive information about the Settlement (Appendix 1 at ¶3.1.5) a claim

  form that Settlement Class Members can use to make a claim and a procedure for filing claims

  online (Appendix 1 at Exhibit A), plus a copy of the latest Complaint, the Agreement, the

  10
    See Appendix 3 (Decl. of Keith J. Keogh) at ¶19.
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  Preliminary Settlement Approval Order for the Settlement Class Members to review. Id. The

  notice posted on the site provides Settlement Class Members with a detailed explanation of their

  options, to enable them to make an informed decision. (Appendix 1 at Exhibit C). The Settlement

  Administrator will also establish and oversee a toll-free phone number for Settlement Class

  Members to contact to ask questions and submit claims via the phone. If the Settlement

  Administrator determines that publication notice is necessary due to concerns about the

  identification of putative class members, the Settlement Agreement provides that publication

  notice may be done after consultation with the Parties.

          A mailed notice combined with a Website for further information is a commonly

  approved method for giving notice in class settlements. See, e.g., See Greco v. Ginn Dev. Co.,

  LLC, 2015 U.S. App. LEXIS 20867 at *15 (11th Cir. Dec. 2, 2015) (unpublished) (“all material

  facts were available to class members because a full copy of the settlement agreement, and the

  release, were available on a website referenced in the Notice.”); Collins v. Erin Capital

  Management, LLC, No. 12-cv-22839-CMA (S.D. Fla. Dec. 20, 2013) at ECF No. 133, ¶ 5;

  Guarisma v. Adcahb Medical Coverages, Inc., No. 13-cv-21016-FAM (S.D. Fla. Mar. 2, 2015)

  at ECF No. 91, ¶11; Soto v. The Gallup Organization, Inc., No. 13-cv-61747-MGC (S.D. Fla.

  June 6, 2015) at ECF No. 79, ¶9; De Los Santos v. Millward Brown, Inc., No. 13-cv-80670-DPG

  (S.D. Fla. Feb. 10, 2015) at ECF No. 77, ¶ 11; Curry v. AvMed, Inc., No. 10-cv-24513, 2014 U.S.

  Dist. LEXIS 48485 at *3 (S.D. Fla. Feb. 28, 2014); Cooper v. Nelnet, Inc., 14-cv-00314-RBD

  (M.D. Fla. Feb. 26, 2015) at ECF No. 72, ¶10; and Legg v. E-Z Rent A Car, Inc., No. 14-cv-

  01716-PGB (M.D. Fla. May 28, 2015) at ECF No. 64, ¶10.

          In short, the notice plan here should be approved.

           VII.    THE MATTER SHOULD BE SET FOR A FAIRNESS HEARING

          After adequate notice is given to the Settlement Class and the government as required by
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  28 U.S.C. §1715, a fairness hearing should be held for the Court to confirm that the Settlement is

  fair, reasonable and adequate. See, e.g., Bennett, 737 F.2d at 985; Torres v. Bank of Am. (In re

  Checking Account), 830 F. Supp. 2d 1330, 1336 (S.D. Fla. 2011).

   VIII.     DEFENDANTS DO NOT OBJECT TO PRELIMINARY APPROVAL OF THE
                                SETTLEMENT CLASS

           As noted above, Defendants disagree Plaintiff can satisfy the elements for a litigation

  class under Rule 23 or that certification of any class would be appropriate here if the parties

  proceeded with litigation. Indeed, Defendants have vigorously opposed the prior motions for

  class certification motion by Plaintiff.         Nonetheless, following extensive negotiations,

  Defendants have agreed to the terms of the Settlement and do not object to the certification of the

  Settlement Class for settlement purposes only.

                                 IX.    SUGGESTED SCHEDULE

           Based on the events that need to take place between the granting of preliminary approval

  and final approval that are described in the proposed preliminary approval order (Exhibit 4 to

  Appendix 1), including obtaining contact information from the telephone companies, Plaintiff

  proposes the general scheduling outline below for evaluating and concluding this Settlement.

  ________, 2021                        Deadline to Identify Class Members
  [120 days from order granting
  preliminary approval]
  ________, 2021                        Deadline for notice to be provided in accordance with
  [45 days after the date of the        the Agreement and this Order (Notice Deadline)
  identification of putative class
  members (165 days from order of
  preliminary approval)]
  _________, 2021                       Deadline for filing of Plaintiff’s Motion for Attorneys’
  [30 days after the Notice Deadline]   Fees and Costs and Service Award
  ________, 2021                        Deadline to file objections or submit requests for
  [60 days after Notice Deadline        exclusion (Opt-Out and Objection Deadline)
  (225 days from order of
  preliminary approval) ]
  ________, 2021                        Deadline for Class Members to Submit a Claim Form
  [60 days after Notice Deadline        (Claim Period)
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  (225 days from order of
  preliminary approval) ]
  __________, 2021                      Deadline for Parties to file the following:
  [30 days after the Opt-Out and           (1) List of persons who made timely and proper
  Objection Deadline]                          requests for exclusion (under seal);
                                           (2) Proof of Class Notice; and
                                           (3) Motion and memorandum in support of final
                                               approval, including responses to any objections.
  _______, 2021 at ____ _.m.            Final Approval Hearing
  [No earlier than 284 days from the
  entry of this Order]



          The reason Plaintiff proposes 45 days from the identification of putative class members

  to send notice to the Settlement Class is due to the time needed for the Defendants to obtain

  third-party data and for the database experts to identify the class. The Agreement provides for a

  four-month deadline to obtain the data, subject to any necessary extensions. This is necessary

  due to the inherent difficulties in identifying a class of wrong numbers, obtaining the third-party

  data, as well as the added difficulties brought by the COVID-19 pandemic that is affecting the

  Defendants and the third-party owners of the third-party data. In response to the pandemic,

  Defendants, and the third-party data owners, have had to close stores and furlough employees,

  including former in-house counsel who appeared in this case. These events combined with

  remote-work requirement have made, and will continue to make, the identification of putative

  class members more difficult. Thus, the four-month deadline is warranted.

                                        X.    CONCLUSION

          For the foregoing reasons, the Parties respectfully requests the Court (1) certify the

  proposed settlement class, (2) appoint Ronda Mercer, as Personal Representative of The Estate

  of Deborah Denise Clark a/k/a Deborah D. Clark, Deceased (3) appoint Mr. Keogh, Mr. Howard

  and Ms. Allen as class counsel, (4) preliminarily approve the proposed settlement and notice



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  plan, and set the matter for a fairness hearing, by entering the proposed order attached as Exhibit

  D to Appendix 1, and (5) grant such other and further relief as deemed just.




     Respectfully submitted by:



  s/Keith J. Keogh                                  s/Frank A. Zacherl
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  Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on February 5, 2021, I electronically filed the foregoing

     document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

     document is being served this date, in some other authorized manner for those counsel or

     parties who are not authorized to receive electronically Notices of Electronic Filing.

                                                  By: /s/ Keith J. Keogh
                                                     Keith J. Keogh




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